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[dntcclm] [Notice of Claim]
                                      UNITED STATES BANKRUPTCY COURT
                                         MIDDLE DISTRICT OF FLORIDA
                                              ORLANDO DIVISION



In re:                                                                    Case No. 6:16−bk−06081−ABB
                                                                          Chapter 13

Luis Raul Parrilla Sr.

Virgen Dali Parrilla

________Debtor(s)________/
                                      NOTICE OF CLAIM FILED BY DEBTOR

TO:

Internal Revenue Service
Centralized Insolvency Opera
PO Box 21126
Philadelphia, PA 19114−0326

   Notice is given pursuant to Fed. R. Bank. P. 3004 that the Debtor filed a claim on your behalf in the above
captioned matter on July 03, 2018, in the amount of $3,362.00.



           Dated July 05, 2018.


                                    Sheryl L. Loesch, Clerk of Court
                                    George C. Young Federal Courthouse
                                    400 West Washington Street
                                    Suite 5100
                                    Orlando, FL 32801
           Copies furnished to:
           Debtor
           Debtor's Attorney
           Trustee
           Internal Revenue Service
           Centralized Insolvency Opera
           PO Box 21126
           Philadelphia, PA 19114−0326
